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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   FT. MYERS DIVISION

In re:

LOUIS ALAN MAIER,                                         Case No. 9:19-bk-05580
                                                          Chapter 7

      Debtor.
_______________________/



                                    PROOF OF SERVICE

          The undersigned counsel for Creditor, QBE INSURANCE CORP. (“QBE”), hereby

certifies that a true and correct copy of the Order Granting QBE Insurance Corp.’s Emergency

Motion to Preserve Assets of the Estate (Doc. 23) was served on all interested parties as

indicated below.



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been filed to all

CM/ECF recipients and those parties listed on the creditor’s matrix attached hereto on this 8th

day of July 2019.


                                     /s/ James S. Myers
                                     James S. Myers
                                     Florida Bar No.: 64246
                                     MCELROY, DEUTSCH, MULVANEY, & CARPENTER, LLP
                                     201 East Kennedy Boulevard, Suite 815
                                     Tampa, Florida 33602
                                     Phone: 813-285-5520
                                     Facsimile: 813-488-1183
                                     Email: jmyers@mdmc-law.com
                                     Counsel for QBE Insurance Corporation
Label Matrix for local noticingCase 9:19-bk-05580-FMD         Doc 24 Filed 07/08/19
                                              QBE Insurance Corporation                                 Page   2 of 3 Company
                                                                                                         RLI Insurance
113A-9                                        c/o McElroy Deutsch Mulvaney & Carpenter                    525 W. Van Buren
Case 9:19-bk-05580-FMD                        201 East Kennedy Boulevard                                  Suite 350
Middle District of Florida                    Suite 815                                                   Chicago, IL 60607-3823
Ft. Myers                                     Tampa, FL 33602-5870
Mon Jul 8 09:38:21 EDT 2019
CHEXSYSTEMS                                   Dave Christa                                                EAST COAST ELECTRIC, LLC
CONSUMER RELATION                             600 East Avenue                                             546 LYELL AVENUE
7805 HUDSON RD STE 100                        Rochester, NY 14607-2089                                    ROCHESTER, NY 14606-1825
WOODBURY, MN 55125-1595


EQUIFAX CREDIT INFORMATION                           ERNSTROM & DRESTE, LLP                               EXPERIAN
SERVICES, INC.                                       C/O TODD R. BRAGGINS                                 475 ANTON BOULEVARD
P.O. BOX 740241                                      925 CLINTON SQUARE                                   COSTA MESA, CA 92626-7037
ATLANTA, GA 30374-0241                               ROCHESTER, NY 14604-1708


Francis P. Weimer, Esq.                              INTERNAL REVENUE SERVICE                             MCELROY DEUTSCH MULVANEY &
43 Court Street, Suite 730                           CENTRALIZED INSOLVENCY OP                            CARPENTER, LLP
Buffalo, NY 14202-3107                               PO BOX 7346                                          201 E KENNEDY BLVD, STE 815
                                                     PHILADELPHIA, PA 19101-7346                          TAMPA, FL 33602-5870


(p)QBE INSURANCE CORPORATION                         Quermback Electric, Inc                              RENEE MAISTO
55 WATER STREET                                      215 Genesee Street                                   42 WESTMINSTER ROAD
NEW YORK NY 10041-0006                               Buffalo, NY 14203-1597                               ROCHESTER, NY 14607-2224



RLI INSURANCE COMPANY                                THEODORE M BAUM, ESQ.                                TRANSUNION CONSUMER SOLUTION
POB 3967                                             820 BAUSCH & LOMB PLACE                              P.O. BOX 2000
PEORIA, IL 61612-3967                                ROCHESTER, NY 14604-2704                             CHESTER, PA 19016-2000



US ATTORNEY GENERAL                                  US ATTORNEY’S OFFICE MD FLA                          United States Trustee - FTM7/13
950 PENNSYLVANIA AVE NW                              400 N TAMPA ST STE 3200                              Timberlake Annex, Suite 1200
WASHINGTON, DC 20530-0009                            TAMPA, FL 33602-4774                                 501 E Polk Street
                                                                                                          Tampa, FL 33602-3949


David W Fineman                                      Louis Alan Maier                                     Robert E Tardif Jr.
The Dellutri Law Group, PA                           4315 SW 25th Place                                   Trustee
1436 Royal Palm Square Blvd.                         Cape Coral, FL 33914-6140                            Post Office Box 2140
Fort Myers, FL 33919-1049                                                                                 Fort Myers, FL 33902-2140




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


QBE INSURANCE CORPORATION
55 WATER STREET
NEW YORK, NY 10041
                                Case 9:19-bk-05580-FMD                Doc 24       Filed 07/08/19         Page 3 of 3


                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)DAVID CHRISTA                                       End of Label Matrix
NY                                                     Mailable recipients    23
                                                       Bypassed recipients     1
                                                       Total                  24
